

Matter of Graber (2020 NY Slip Op 02234)





Matter of Graber


2020 NY Slip Op 02234


Decided on April 9, 2020


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 9, 2020

PM-48-20

[*1]In the Matter of Lauren Ashley Graber, an Attorney. (Attorney Registration No. 4962668.)

Calendar Date: March 16, 2020

Before: Garry, P.J., Clark, Mulvey, Aarons and Pritzker, JJ.


Lauren Ashley Graber, Somerville, Massachusetts, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Lauren Ashley Graber was admitted to practice by this Court in 2011 and lists a business address in Boston, Massachusetts with the Office of Court Administration. Graber now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Graber's application.
Upon reading Graber's affidavit sworn to October 9, 2019 and filed November 12, 2019, and upon reading the March 12, 2020 correspondence in response by the Chief Attorney for AGC, and having determined that Graber is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Clark, Mulvey, Aarons and Pritzker, JJ., concur.
ORDERED that Lauren Ashley Graber's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Lauren Ashley Graber's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Lauren Ashley Graber is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Graber is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Lauren Ashley Graber shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








